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Joshua Trigsted
Oregon State Bar ID Number 06531
Trigsted Law Group, P.C.
5200 SW Meadows Rd, Ste 150
Lake Oswego, OR 97035
503-376-6774, ext. # 216
866-927-5826 facsimile
jtrigsted@attorneysforconsumers.com
Attorney for Plaintiff


                           UNITED STATES DISTRICT COURT
                               DISTRICT OF OREGON
                                PORTLAND DIVISION

                                                 Case No.: 3:12-cv-2352
SHANNON JENNINGS,
                                                 COMPLAINT;
              Plaintiff,
                                                 FAIR DEBT COLLECTION PRACTICES
      vs.                                        ACT (15 U.S.C. § 1692a, et seq.);

ENHANCED RECOVERY COMPANY,                       DEMAND FOR JURY TRIAL
LLC,
              Defendant.
                                 I. INTRODUCTION

      1.      This is an action for damages brought by an individual consumer for

Defendant’s violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. §

1692, et seq. (hereinafter “FDCPA”).

                                 II. JURISDICTION

      2.      Plaintiff’s claim for violations of the FDCPA arises under 15 U.S.C. §

1692k(d), and therefore involves a “federal question” pursuant to 28 U.S.C. § 1331.

                                    III. PARTIES

      3.      Plaintiff, Shannon Jennings (“Plaintiff”), is a natural person residing in
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Washington County, Oregon.

      4.        Defendant, Enhanced Recovery Company, LLC, (“Defendant”) is a

corporation engaged in the business of collecting debts by use of the mails and telephone.

Defendant regularly attempts to collect debts alleged due another.

                             IV. FACTUAL ALLEGATIONS

      5.        Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §

1692a(6).

      6.        Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

      7.        All activities of Defendant set out herein were undertaken in connection

with the collection of a “debt,” as defined by 15 U.S.C. § 1692a(5).

      8.        Within the last year, Defendant took multiple actions in an attempt to

collect a debt from Plaintiff. Defendant’s conduct violated the FDCPA in multiple ways,

including the following.

      9.        Taking or threatening to take nonjudicial action to effect dispossession or

disablement of Plaintiff’s property, where there was no present right to possession of the

property claimed as collateral through an enforceable security interest, including twice

attempting to take money from Plaintiff’s bank account without authorization (§

1692f(6)(A)).

      10.       Using false representations and deceptive practices in connection with

collection of an alleged debt from Plaintiff, including promising to Plaintiff that she

would be refunded $64, which was the amount charged to Plaintiff by her bank due to


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having insufficient funds in her account on the dates that Defendant tried to make the

unauthorized withdrawals from Plaintiff’s account (§ 1692e(10)).

       11.     As a result of the aforementioned violations, Plaintiff suffered and

continues to suffer injuries to Plaintiff’s feelings, personal humiliation, embarrassment,

mental anguish and severe emotional distress.

       12.     Defendant intended to cause, by means of the actions detailed above,

injuries to Plaintiff’s feelings, personal humiliation, embarrassment, mental anguish and

severe emotional distress.

       13.     Defendant’s actions, detailed above, were undertaken with extraordinary

disregard of, or indifference to, known or highly probable risks to purported debtors.

       14.     To the extent Defendant’s actions, detailed in paragraphs above, were

carried out by an employee of Defendant, that employee was acting within the scope of

his or her employment.

   COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       15.     Plaintiff reincorporates by reference all of the preceding paragraphs.

       16.     The preceding paragraphs state a prima facie case for Plaintiff and against

Defendant for violations of the FDCPA, §§ 1692f & 1692e.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       A.      Declaratory judgment that Defendant’s conduct violated the FDCPA;


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      B.      Actual damages pursuant to 15 U.S.C. 1692k;

      C.      Statutory damages pursuant to 15 U.S.C. § 1692k;

      D.      Costs, disbursements and reasonable attorney’s fees for all successful

claims, and any unsuccessful claims arising out of the same transaction or occurrence as

the successful claims, pursuant to 15 U.S.C. § 1692k; and,

      E.      For such other and further relief as may be just and proper.

               PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY



                                              Dated this 27th day of December, 2012.


                                                  By:_s/Joshua Trigsted_______
                                                  Joshua Trigsted
                                                  Trigsted Law Group, P.C.
                                                  5200 SW Meadows Rd, Ste 150
                                                  Lake Oswego, OR 97035
                                                  503-376-6774, ext. # 216
                                                  866-927-5826 facsimile
                                                  Attorney for Plaintiff




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